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SUPPLEMENTAL REPORT ON
REVIEW OF CODE OF CONDUCT
AND CLAIMS PROCESSING ISSUES

JULY17,2013 |

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Pursuant to the Court’s direction, the Claims Administrator’s Office (“CAO”) has
continued its internal investigation, including review of the Deepwater Horizon Settlement
Program’s (“Program’s”) policies and claims process. The following is an updated report on the
Program’s efforts in that regard.

I. Special Master Investigation

Special Master Louis Freeh is conducting an independent investigation as per the
Court’s order, The CAO is continuing to provide Mr. Freeh’s team with information to assist in
that investigation. This has included explanations of the claims process, production of
documents and computer data, witness interviews, etc. That investigation is ongoing.

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As previously reported, the Business Economic Loss (“BEL”) claim o

has been reviewed by both PwC and the Claims Administrator’s Quality Control

Team, both of whom have concluded that the claim’s calculations are correct. From the
Program’s perspective, this claim has been properly documented. It remains on “hold” pending

further direction from the Court.

As previously reported, a “hold” has been placed on all claims of clients represented by

that are still in process. A total of 494 claims

fall into that category.

clients have already been processed. Of that

In addition, a total of 198 claims o
total, 57 were denied and 141 received eligibility notices.
A total of 18 business claims {16 regular BEL’s and 2 start-up BEL’s) had previously

received eligibility notices. Each of these claims has been re-reviewed by the accounting team,

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both PwC and P&N. The accountants’ report in that regard is attached. The accounting team
has concluded that the prior determinations were correct. BrownGreer has also re-reviewed
each of these claims and has found them to be in order. BrownGreer’s report on these re-reviews
is also attached.

A total of 123 claims of other types (non-BEL) had previously received eligibility
notices. BrownGreer was the vendor responsible for those types of claims. BrownGreer has re-
reviewed cach of these claims, the re-review being done by someone other than the initial
reviewer. Of these 123 claims, BrownGreer has found them all to be in order with two
exceptions as follows.

(a) As to one VoO Charter claim that was paid, the re-review revealed that the file was

not properly documented with an actual signed copy of the charter agreement. That
claim should have been marked as incomplete as opposed to payable, This error was

unrelated to anything involving Christine Reitano or Lionel Sutton in any respect.

(b) As to one Seafood claimant (2 separate claims — 1 as a boat captain and | as a boat
owner), the re-review revealed that the cost of purchasing the vessel was improperly
‘considered a qualifying expenditure. This error was unrelated to anything involving

Christine Reitano or Lionel Sutton in any respect.

Of the numerous claims that have not yet been processed to the point of receiving any
sort of eligibility notice, BrownGreer’s re-review has found all such claims to be in order, with
the following single exception. This 1 exception does not concern anything involving either
Christine Reitano or Lionel Sutton.

(a) 1 BEL claim that initially passed causation though has not yet been reviewed by the

accountants. It has received no notice of any kind. BrownGreer’s re-review

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indicates that the submitted P&L's are incomplete. This claim will be re-processed
by BrownGreer after complete P&L’s are received and before the claim is presented
to the accountants for review. This issue is unrelated to anything involving Christine

Reitano or Lionel Sutton in any respect.

4, Reversals of “Incompleteness” Denials

As previously reported, Christine Reitano’s duties included serving as the -
“Documentation Reviewer,” which involved reviewing denials that had been based on
incomplete documentation. As further previously reported, Ms. Reitano overturned a total of 4
denials and affirmed a total of 42 denials. As noted in our prior report, we have reviewed the 4

claims in which the denial was overturned and have found no indication of wrongdoing in those

instances. Further, none of the 4 reversals involved claimants represented by

§. Review of Pregram “Policies”

The Program has conducted a comprehensive review of the various “policies” that have
been developed and implemented during the course of the Program. That review focused on
those policies that BP did not specifically “accept” or agree to. A total of 230 policies fall into
this category. A team consisting of appropriate representatives from the CAO, BrownGreer,
PwC and P&N participated in group discussions over a period of two days to review these
policies. After this comprehensive review, this group concluded that the Program’s policies are
appropriate and are free of any undue or improper influence from Ms. Reitano or Mr. Sutton.
BrownGreer’s report on this review is attached.

6. Code of Conduct issues

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As previously reported, David Odom (CEO) has reviewed the Program’s conflict of
interest and disclosure policies with all individuals serving on the Claims Administrator’s staff.
In addition, all Program vendors have been instructed to review such policies with their
personnel and to ensure compliance on their behalf. The Program vendors have provided David
Odom (CEO) of confirmation of their efforts in that regard,

7. Review of “Tourism” Determinations

A dedicated team at BrownGreer is charged with responsibility for determining whether
particular claimants are to be assigned a “Tourism” designation.

For those claims that represent “closer” calls, it has been the Program’s practice for
members of the BrownGreer team to review specific cases with the CAO, The BrownGreer team
will make recommendations based on the facts of a specific case, and then the CAO will make a
final decision as to that specific claim. Those from the CAO who have been involved in these
reviews have been Patrick Juneau, Michael Juneau and Christine Reitano.

The Program has gone back to review all such determinations given that Christine
Reitano was in part involved in these discussions. A total of 45 claims had previously undergone
this process of review by the CAO. Of those 45 total, 44 decisions were made, and 1 claim was
left unresolved. The 44 determinations were as follows:

(1) CAO agreed with BrownGreer’s recommendation in 39 instances.

(2) CAO disagreed with BrownGreer’s recommendation in 5 instances:

(a) CAQ’s decision in 3 instances was in BP’s favor (claimant was nor given a
tourism designation).
(b} CAO’s decision in 2 instances was in Claimant’s favor (claimant was given a

tourism designation).

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Of the 45 claims in this category that were presented to the CAO, only 1 involved a

claimant represented by : a That claim involved an

employee of a spa. BrownGreer recommended that the claim not be assigned a tourism
classification, and the CAO agreed with that recommendation.

We have found no indication of any wrongdoing and have concluded that the individual
decisions were appropriate and well-founded in each instance.

8. Review of “Real Estate Developer” Determinations

In determining whether a claimant is excluded from the settlement as a “Real! Estate
Developer,” the Program uses a similar process as that used in evaluating the “Tourism”
designation as described above.

Decisions on this issue have been made by the BrownGreer Real Estate Developer team
and Patrick Juneau, Michael Juneau and Christine Reitano from the CAO,

A total of 5 claims had previously undergone this process of review by the CAO.
Decisions were made with respect to all 5 claims. The 5 determinations were as follows:

(1) CAO agreed with BrownGreer’s recommendation in 2 instances.

(2) CAO disagreed with BrownGreet’s recommendation in 3 instances:

(a) CAQ’s decision in 2 instances was in BP’s favor (claimant was excluded as a
Real Estate Developer).

(b) CAO’s decision in 1 instance was in Claimant’s favor (claimant was not
excluded as a Real Estate Developer).

None of the claims in this category that were presented to the CAO involved claimants

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We have found no indication of any wrongdoing and have concluded that the decisions
were appropriate and well-founded in each instance.

5. “Release” of Claims Initially Held for Potential Moratoria Analysis

Lionel Sutton was involved in the process of trying to formulate a framework under
which Moratoria losses are to be evaluated, But the Settlement Agreement calls for the parties to
provide the Claims Administrator with agreed criteria that are to be used in this regard. The
Parties have yet to reach agreement on this issue. There thus still has been no policy that has
been adopted to detail how Moratoria losses are to be evaluated. The Claims Administrator is
still waiting for the Parties to provide him with their agreed direction as to how Moratoria claims
are to be evaluated.

Exhibit 19 of the Settlement Agreement provides that the following claims are subject to
Moratoria review by a special designated team: (1) claimants that fall within the NAICS codes
marked by an “x” under Section I of Exhibit 19; and (2) claimants that fal! within the NAICS
codes marked by an “x” under Section H of Exhibit 19 and the claimant indicates that it provides
significant services in the offshore oil & gas industry in the Gulf of Mexico. Claims that fall into
either of these two categories have been held until a formal Moratoria policy is in place. Such
claims continue to be held pending agreement between the Parties as to how Moratoria losses are
to be evaluated.

A total of 47 claims had been identified as not meeting either of the above two criteria
but nonetheless having some indicia of potential Moratoria losses. These 47 claims were
allowed to proceed through regular BEL claims processing because the company’s NAICS code
was not one identified on Exhibit 19 as mandating special Moratoria Loss review as outlined

above. Lione] Sutton was the CAO representative who authorized the processing of those

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claims. Of those 47 claims, 10 have received eligibility notices. Of the 10 claims that have
received eligibility notices, 3 have been paid without appeal, 6 have been appealed to the
Appeals Panel (2 decisions in favor of claimant and 4 still pending) and 1 has requested
reconsideration and has been moved back for additional review. None of the 10 claims that have

proceeded through BEL processing and have received eligibility notices involved claimants

Out of an abundance of caution, a
“pnayment hold” has been placed on the 7 of these 10 claims on which payment has not been
issued, This “payment hold” will remain in place pending further direction from the Court.
The 37 claims that were previously released for regular BEL processing but which have
not received eligibility notices, are currently being held until further analysis is concluded. in
addition, for any other claims that fall outside the scope of the NAICS codes listed on Exhibit 19
as outlined above but for which there is some indicia of potential Moratoria losses, such claims
are currently being held pending the Parties’ agreement on the unresolved Moratoria evaluation
issues. Evidence of potential Moratoria Losses that may trigger referral to and review by the
Claims Administrator includes, but is not limited to:
(a} Significant Services Affirmation. The Entity affirmed by answer in a Claim
Form or in a Sworn Written Statement that in 2009 it provided significant
services, goods, and/or supplies to businesses in the offshore oil and gas
industry in the Gulf of Mexico.
(b) Business Name or Description. The Entity’s name or company description
indicates that it does business m or with customers in the offshore oil and gas
industry in the Guif of Mexico.

(c) Offshore Oil and Gas Customers. The Entity provided or collateral research

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revealed a customer list, project list, contract, Master Service Agreement,
purchase order, inveice, profit and loss statement, or other evidence indicating
that it does business in or with customers in the offshore oil and gas industry
in the Gulf of Mexico.
(d) Documents Referencing the Moratoria. Documents in the BEL claim file for
the Entity or an TEL claim file for an employee of ihe Entity (e.g., hardship
letter, employer letter, claimant correspondence) indicates that all or part of
the claimed losses were caused by or resulted from the moratoria or from

doing business in the offshore oil and gas industry in the Gulf of Mexico.

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1. Claims Re-Reviewed 50 59 122 110 381
(a) Eligibility Notice Issued 18 8 61 54 140
(b} frcompleteness Notice 44 Ai 47 24 187
ssued
(cy No Notice Issued 28 10 14 32 84
2, | Claims Not Re-Reviewed 24 27 29 30 109
(a} Denial Notice Issued 12 27 25 29 92
(b) Closed and Not
Processed (Claim .
Withdrawn, Opt-Out, 12 0 4 | M7
Untimely, etc.)
3. | Total Claims Submitted 114 86 15] 140 491
4. Claims Started But Not NIA N/A N/A N/A 201
Submitted

5. Total Claims il4 86 151 140 692

B. Re-Review Findings

6. | Claims Re-Reviewed 9G 59 122 111i 382
(a) Status Changes Found 1 0 2 I 4
C1) Reviewer Mistake
Identified I 0 2 I 4
(2) Policy Decision
Interpreted 0 0 0 0 0
Incorrectly
(b) Status Changes Not 89 59 120 +10 368°
Found
7, Claims Not Re-Reviewed 24 27 29 30 109
8. Claims Started But Not N/A N/A N/A N/A 201
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9, Total Claims 114 86 151 140 692

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I. BEL Claims.

A. The Settlement Program identified 90 BEL claims that required re-review and an
additional 24 claims that did not require re-review because the claims were denied or
withdrawn or the claimant opted-out, etc. The Settlement Program has completed all 90
BEL re-reviews.

B. Before the Setilement Program performed the re-reviews, the statuses of the claims were:

1. 18 claims received Eligibility Notices (both BrownGreer and the accountants re-
reviewed these claims);

2. 44 claims have received Incompleteness Notices; and
3. 28 claims have not yet received a Notice.

C. Afier the Settlement Program completed the re-reviews, one claim (Claimant ID
eae Chin Daa mq) had a status change.

1. The claimant provided only non-monthly P&Ls that the reviewer incorrectly captured
as monthly P&Ls.

2. As such, the claim status changed from complete and passing causation to incomplete
for failure to provide monthly financial documentation.

3. This claimant has not yet received a Notice of any kind. Because this claim had not
been through the complete review process, the Settlement Program would likely have
corrected this claim in the normal course of the review process.

Tl, TEL Claims.

A. The Settlement Program identified 59 IEL claims that required re-review and an
additional 27 claims that did not require re-review because the claims were denied, The
Settlement Program has completed aii 59 IEL re-reviews.

B. Before the Setilement Program performed the re-reviews, the statuses of the claims were:
1. 8 claims received Eligibility Notices;

2. 41 claims have received Incompleteness Notices; and

3. 10 claims have not yet received a Notice.

C. After the Settlement Program completed the re-reviews, there were no claims with a
changed status.

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11f.Seafood Claims.
A. The Settlement Program identified 122 Seafood claims that required re-review and an

additional 29 claims that did not require re-review because the claims were denied or
untimely filed. The Settlement Program has completed all 122 Seafood re-reviews.

B. Before the Settlement Program performed the re-reviews, the statuses of the claims were:
1. 61 claims received Eligibility Notices;
2. 47 claims have received Incompleteness Notices; and
3. 14 claims have not yet received a Notice,

C. After the Settlement Program completed the re-reviews, two claims (Claimant ID
Aa Ch Do ae fa) had a status change.

1. In these claims, the claimant filed New Entrant Shrimp claims as both a Boat Captain
and a Vessel Owner for a vessel less than 30 ft.

2. The claimant purchased the vessel shortly before the Spill and did not have sufficient
qualifying expenses outside ihe purchase price. The Settlement Program incorrectly
attributed the purchase price to the qualifying expenditures creating an eligible result
when the claims should have been incomplete for additional expenses.

3. The claimant has received payment on both claims.

IV. Other Claim Types.

A. The Settlement Program has completed all of the re-reviews for claims in the other claim
types.

1. The Settlement Program re-reviewed 78 claims that previously received an Eligibility
Notice, an Incompleteness Notice, or some other non-Denial Notice.

2, The Settlement Program also evaluated the statuses of 32 additional claims that are
still in the review process and have not yet received an initial Notice.

3. For claims that have not yet received an initial Notice, the Settlement Program
confirmed that the prior work on the claims was completed correctly.

B, The Settlement Program identified 30 claims that did not require re-review.
C. The claim types for the 110 claims re-reviewed are:

1. 3 Coastal Real Property Claims (3 Previously Found Payable).

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2. 38 Subsistence Claims (13 Previously Found Incomplete; 25 with No Prior Result).

3. 413 Vessel Physical Damage Claims (5 Previously Found Payable; 7 Previously Found
Incomplete; 1 with No Prior Result).

4. 49 VoO Charter Payment Claims (46 Previously Found Payable; 3 Previously Found
incomplete).

5, 7 Wetlands Real Property Claim (1 Previously Found Incomplete; 6 with No Prior
Result)

D.. The Settlement Program confirmed that the previous review results for 109 of the 110
claims re-reviewed were correct.

1, The Settlement Program determined that one claim was found payable during the
initial review, but the claim should have been incomplete.

2. This claim ‘as (Claimant ID a — Claim ID Bas), a VoO
claim. Upon re-review, the Settlement Program was unable to confirm that the
Claimant executed a VoO MVCA. The hard copy MVCA within Doc.
not sufficient because the contract was not signed by a VoO representative.

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A, Introduction.

On July 2 and July 3, 2013, the Claims Administrator and key members of his staff met
with BrownGreer, Pricewaterhouse Coopers (“PwC”) and Postlethwaite and Netterviile (““P&N”}
to discuss the departures of Christine Reitano and Lionel “Tiger” Sutton and to review the
policies developed and implemented during the course of the Settlement Program, The purpose
of these meetings was to evaluate the current policies to determine if either Ms. Reitano or Mr.
Sutton imposed any self-interest or undue influence in the creation of any policy or the
application of a policy during the claims review process. The Claims Administrator wanted to
ensure that there was no potential taint on the current policies and that BP had ample
opportunities to provide feedback for all policies created during the Settlement Program.

The Claims Administrator has adopted 393 policies since June 4, 2012. Of the 393
policies, 386 have been reviewed by BP and Class Counsel (the “Parties”) at some point, many
of which have been reviewed several times. Because the purpose of the meeting was to review
the policies that may have negatively affected BP based on iis letter to the Court dated June 21,
2013, the Claims Administrator only reviewed the policies BP did not accept. When the Claims
Administrator announces a proposed policy to the Parties, the Parties review it and must decide
to: {1} accept the policy as final; (2) defer to the Claims Administrator’s decision; (3) propose a
modification to the policy; or (4) request a Panel Hearing. Ifa Party decides to accept the policy
as final, this notifies the Claims Administrator that the Party agrees with the policy because it
appropriately reflects the terms of the Settlement Agreement or is a fair interpretation of any
vague or conflicting provisions. If any Party chooses to defer to the Claims Administrator, the
policy is labeled as a Claims Administrator Decision rather than Agreed to by the Parties because
there is not unanimous acceptance by the Parties. Accordingly, the Claims Administrator did not
analyze any policies that BP accepted during the course of the Settlement Program as it had an
opportunity to object or propose modifications, but instead elected to concur with the policy as
proposed. After removing the policies BP accepted, the Claims Administrator analyzed 230
policies with BrownGreer, PwC and P&N. Exhibit A summarizes the policies that the Claims
Administrator reviewed during these meetings.

To facilitate the review of 230 policies that encompass every aspect of the Settlement
Program, BrownGreer created policy packets grouped by claim type or review process to provide
some structure to the process. Within the topical groupings, BrownGreer further organized the
policies by the Type of Decision: (1) Panel Hearing/Proposed Modification; (2) Claims
Administrator Decision; (3) Internal Policies Reviewed by the Parties; and (4) Internal Policies
Not Reviewed by the Parties. The Claims Administrator conducted a group analysts of these
policies over a two-day period and invited key members from his staff and the vendors to
participate in the discussion involving their areas of expertise and direct supervision.

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B. Day 1—Tuesday, July 2, 2013.

The Claims Administrator and attendees reviewed the policies together to determine if
the current policies are fair and balanced, promote correct interpretations of the Settlement
Agreement, and were untainted by Ms, Reitano or Mr. Sutton.

1, Attendees.

(a} Claims Administrator’s Office
(1) Patrick Juneau
(2) Mike Juneau

(b) BrownGreer
(1) Orran Brown, Sr,
(2) David Smith
(3) Bill Atkinson
(4) Beth Smyers
(5) Matthew Hazzard

ic) PwC
(1) Emily Kent
(2) Megan Douglas
(3) John Petzold

(d) P&N
(1) Mark Staley
(2) Katherine Torres

2. Court-Approved Policies.

The Claims Administrator started the review process by discussing the three policies
decided by the Court. The Parties escalated Policy 307 (Non-Profit Entities), Policy 308
(Establishing Causation) and Policy 324 (Calculation of Variable Profit) to the Court for review
after an unsuccessful Panel Hearing on the substance of these policies. A packet containing
these three policies is attached as Exhibit B. After reviewing these three Court-approved
policies with the group, the Claims Administrator determined that these policies did not have any
undue influence by Ms. Reitano or Mr. Sutton as each policy was initially drafted by one of the
vendors and/or by Mike Juneau and received heightened scrutiny by the Parties and ultimately
the Court.

3. Business Economic Loss and Claimant Accounting Support Policies.

The Claims Administrator reviewed 68 BEL policies and 14 Claimant Accounting
Support policies. A packet combining these policies is attached as Exhibit C. Following a
thorough review of each policy, the Claims Administrator and attendees determined that the

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policies included in this packet were appropriate and were not the result of any undue influence
from Ms. Reitano or Mr. Sutton. BrownGreer or the accountants proposed and drafted the
majority of these policies during the design of the claims review system. Additionally, Pat
Juneau and/or Mike Juneau directly supervised the approval process of these BEL policies, thus
Ms. Reitano and Mr. Sutton were removed from both the policy development and approval
process,

During the course of review, the Claims Administrator did identify several policies that
were untainted, but required further action.

(a) Consolidation of Policies.

At the beginning of the Settlement Program, the Claims Administrator circulated policies
and questions about the Settlement Agreement to the Parties through an exchange of Excel
spreadsheets. in hindsight, some of these adopted policies provide very little context to the
particular issue and can be repetitive. For this reason, the Claims Administrator identified four
policies in the BEL packet that need to be consclidated into a single comprehensive policy.
Policies 111, 167, 170 and 172 all address various aspects of the definition of Multi-Facility
Businesses. The Claims Administrator assigned BrownGreer with the task of formulating these
Multi-Facility Business policies into one aggregate policy.

(b) Policies Undergoing Continued Discussions by the Parties.

During the course of the BEL policy analysis session, the Claims Administrator
determined that all existing Moratoria policies needed to be discussed in greater detail because of
ongoing discussions between the Parties. Policy 304 that implements Section If of Exhibit 19
was included in the BEL policy packet, but ts really part of the larger Moratorta discussion
between the Parties. Because the Parties have not yet agreed how Moratoria losses should be
calculated, the Claims Administrator instructed BrownGreer to create a comprehensive
Moratoria policy that summarizes how the Claims Administrator currently reviews potential
Moratoria claims. The Claims Administrator then tabled the Moratoria policy discussions until
Day 2.

The Claims Administrator finished the BEL policies and moved on to the policies
affecting reimbursement of Claimant Accounting Support (“CAS”). During the review of these
14 policies, the Claims Administrator determined that these policies had been discussed with Pat
Juneau, Mike Juneau, Orran Brown, Sr. and David Smith in July of 2012, which was concurrent
with the beginning of the claim types that are eligible for CAS reimbursement. Thus, these
policies were untainted by Ms. Reitano or Mr. Sutton and properly implement the reimbursement
of accounting fees as outlined by the Settlement Agreement.

4. Policies Affecting All Claims and All Economic Loss Claims.

The Claims Administrator then reviewed the policies that affected all claim types and All
Econotnic Loss Claims. A packet of these policies is attached as Exhibit D and they affected
either all Claim Types or IEL and BEL claims. The Claims Administrator concluded that ail of

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these policies were free of any undue influence and remain appropriate Settlement Program
policies that the Parties had reviewed several times. However, there were three policies included
within Exhibit D that required additional research and discussion.

(a) Policy 289—Definition of Tourism.

During the analysis of Policy 289, all attendees agreed that this definition of Tourism
remained the correct policy and did not have any undue influence by Ms. Reitano or Mr. Sutton.
Nevertheless, the Claims Administrator requested that BrownGreer send the Claims
Administrator the Excel spreadsheets previously circulated that contained specific examples of
how to apply the definition of Tourism to ensure the policy has been applied appropriately.

(b) Policy 346-- Appropriate RTP for Primary Seafood Processors.

The Claims Administrator also asked BrownGreer for further information surrounding
Policy 346 that dictates the appropriate Risk Transfer Premium (“RTP”) for Primary Seafood
Processors. All attendees agreed that the policy is correct and the best policy that the Claims
Administrator could have implemented, but to ensure Ms. Reitano or Mr. Sutton had no direct
influence with the policy’s implementation, the Claims Administrator requested that this policy
be analyzed further, The Claims Administrator directed BrownGreer to determine if this RTP
policy affected - claimants and whether BP had appealed any claims based
on the application of this policy. This additional information will provide the Claims
Administrator with a better picture of how Policy 346 has affected claims processing.

(c) Policy 352—Eligibility Zone for Charter Fishing Busimesses.

After discussing Policy 352 (The Appropriate Eligibility Zone for Charter Fishing
Businesses), the Claims Administrator identified this policy as one that should be included in the
comprehensive redraft of the Multi-Facility Business policies. This concluded the All Claims
and All Economic Loss Claims policy packet.

5, Nen-Economic Loss Policies.

BrownGreer grouped the policies affecting the Coastal, Wetlands, VoO and Vessel
Physical Damage claim types into one policy packet, attached as Exhibit E. The Claims
Administrator and the attendees determined that the 12 policies in this packet were appropriate

and were created without any undue influence from Ms. Reitano or Mr. Sutton.

cy Day 2-- Wednesday, July 3, 2013.

The Claims Administrator began the second day of meetings by reiterating to the
attendees that the purpose of these group discussions was to determine if these decisions remain
good policy and whether Ms. Reitano or Mr. Sutton imposed any self-interest or undue influence
in the creation of any policy implemented by the Settlement Program.

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1, Attendees.

(a) Claims Administrator’s Office
(1) Patrick Juneau
(2) Mike Juneau
(3) David Duval
(4) Christina Hendrick

(b) BrownGreer
(1) Orran Brown, Sr.
(2) David Smith
(3) Phil Strunk
(4) Frank Trani
(5) Dennis Carter .
(6) Orran Brown, Jr.
(7) Matthew Hazzard
(8) Bethany Anderson
(9) Tamra Blankenship

(ec) PwC
{1} Emily Kent (by phone)
(2) Megan Douglas
(3) John Petzold

(d) P&N
(1) Corey Jambon
(2) Andre Neal

2, Individual Economic Loss Policies,

The Individual Economic Loss policy packet included seven policies attached as Exhibit
F. The Claims Administrator reviewed each policy and concluded that these IEL policies remain
valid and are free of any undue influence from Ms. Reitano or Mr. Sutton. The policy packet did
include two moratoria policies (Policy 142 and Policy 143) that the Claims Administrator tabled
for further discussion at the end of the Day 2 session.

3. Seafood Compensation Program Policies.

The Claims Administrator and vendors then reviewed the Seafood policy packet, which
included 56 total policies attached as Exhibit G, The Claims Administrator determined that
each policy accurately reflects the Parties’ intent in drafting the Settlement Program and showed
no undue influence from any individual within the Claims Administrator’s Office. Phil Strunk
with BrownGreer notified the Claims Administrator that Ms. Reitano did have significant input
with regard to Policy 440 (IFQ "Set-Aside" Shares). After discussing the history and purpose of
this IFQ Set-Aside Share policy, everyone agreed that the policy is the correct application under

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the terms of Exhibit 10 of the Seafood Prog
affect any claimants represented byp

r. Strunk confirmed that Policy 440 did not

4. Subsistence Policies.

During the discussion of the Subsistence policies, Christina Hendrick from the Claims
Administrator’s Office joined the meeting, The Claims Administrator and all attendees then
reviewed the 17 policies attached as Exhibit H. The Subsistence policies were created with
significant involvement from both Parties as well as the Pennington Biomedical Research
Center. Ms. Hendrick stated that although Mr. Sutton worked heavily on Subsistence claims, he
did not influence a policy that benefited him or any outside party. Mr. Sutton and Ms. Hendrick
had differing views on how to measure “impairment” of fishing grounds. Ms. Hendrick’s view
on that issue ultimately prevailed. The Claims Administrator confirmed that all the Subsistence
policies, including the four policies the Parties have not reviewed, are good policies that were not
affected by any potential personal interest by Ms. Reitano or Mr. Sutton. .

5. Policies Affecting the Appeals Process.

When the Claims Administrator began to review the policies that affect the Appeals
processes, David Duval from the Claims Administrator’s Office joined the meeting. The Claims
Administrator examined the three policies attached as Exhibit I and concluded that the policies
were free of any undue influence from Ms. Reitano or Mr. Sutton, The Claims Administrator did
identify Policy 309 (Re-Review Process) as a policy that needs to be fine tuned, so BrownGreer
was tasked with updating the summary of this policy to reflect the memo from December 13,
2012, that the Claims Administrator circulated to the Parties secking approval of this additional
layer of review before the format appeals process.

6. Other Policies.

All of the remaining policies were grouped together into a policy packet labeled “Other”,
which is attached as Exhibit J. The packet included policies affecting Exclusions, Fraud,
Payments, Reconsideration, Deadlines, Deadline Enforcement and Moratoria analysis. Based on
the discussions from the first session, the Claims Administrator decided to address the policies
affecting Moratoria last. The attendees concluded that afl non-Moratoria policies were not
unduly influenced by Ms. Reitano or Mr, Sutton.

For the Moratoria analysis, the Claims Administrator determined that Policies 52, 142,
143, 304, 321, 322 and 365 need to be combined to form a single comprehensive policy that
provides a clear statement of what the Claims Administrator is currently doing with Moratoria
claims. BrownGreer has undertaken the responsibility of formulating this policy and will
circulate he comprehensive policy to the Claims Administrator for his review and approval.
This comprehensive policy will supersede all of the current policies that address Moratoria
claims.

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dD. Conclusion.

After reviewing all the policies that BP did not explicitly accept, the Claims
Administrator concluded that Ms, Reitano or Mr, Sutton did not have any undue influence on
any policies or their implementation to the claims review process. Moreover, the Claims
Administrator confirmed that BP has had an opportunity to review all but seven of the policies
created during the course of the Settlement Program. The Claims Administrator and his vendors
concluded that the Settlement Program policies remain accurate and that the Settlement Program
will continue to implement the policies in the claims review processes.

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A. Introduction.

Under the terms of the Deepwater Horizon Economic and Property Damage Settlement
Agreement (“Settlement Agreement”), the Claims Administrator is charged with the duty to
“faithfully implement and administer the Settlement, according to its terms and procedures, for
the benefit of the Economic Class, consistent with this Agreement, and/or as agreed to by the
Parties and/or as approved by the Court.” (Section 4.3.1 of the Settlement Agreement), Further,
the Claims Administrator is charged with the responsibility to “work with Economic Class
Members ... to facilitate... assembly and submission of Claims Forms, including all supporting
documentation necessary to process Claims Forms under the applicable Claims Processes...
[and to] provide Economic Class Members with assistance, information, opportunities and notice
so that the Economic Class Member has the best opportunity to be determined eligible for and
receive the Settlement Payment(s) to which the Economic Class Member is entifled under the
terms of this Agreement.” (Section 4.3.7 of the Settlement Agreement).

To fulfill these duties and to process claims in an orderly, transparent and consistent
manner, the Claims Administrator develops and adopts policies and procedures to govern aspects
of claims review that are not specifically delineated by the Settlement Agreement. A policy
addresses an issue that is not defined or outlined within the Settlement Agreement, while a
procedure expands on how the Claims Administrator will implement a particular Settlement
Agreement provision by giving it structure and rules. For example, Policy 208 directs that
claimants will not receive any type of minimum payment amount and that Eligibility Notices will
award the exact amount of calculated damages provided by the Settlement Agreement formulas.
In contrast, Procedure 379 (Procedure Regarding Handling Untimely Seafood Claims) describes
the rules the Claims Administrator created to allow submission of Seafood Compensation
Program claims filed after the January 22, 2013 Bar Date.

The Claims Administrator’s methodology for developing a policy or procedure follows
the same process. Accordingly, for the purpose of this document, the term “policy” or “policies”
includes both a policy and procedure. The Claims Administrator presents proposed policies to
Class Counsel and BP (the “Parties”) for their positions before the policy become final and is
used in claims review, Ifa Party does not agree with a particular policy, the Party may obtain
review of it by the United States District Court for the Eastern District of Louisiana (the “Court”)
in the exercise of its supervisory jurisdiction over the implementation of the Settlement
Agreement.

B. Determining the Need for a Policy.

The Claims Administrator will propose or implement a policy if: (1) the Settlement
Agreement is vague or incomplete on a specific issue; (2) unique factual circumstances come to
light during the review of claims that require a uniform rule not provided in the Settlement
Agreement; or (3) the issue is administrative in nature and it necessary to process claims
efficiently. Each method for proposing and implementing policies is discussed below.

1. Incomplete or Vague Settlement Agreement Proyisions.

When the Settlement Agreement is vague or incomplete on an issue, developing policies
becomes necessary so the Claims Administrator and his vendors (“Vendors”) may process claims

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efficiently and consistently, The Claims Administrator solicits input from the Parties and/or
provides them with an opportunity to agree or challenge the suggested language when creating
policies that interpret or apply specific Settlement Agreement provisions. Two prime examples
of the need for policies involve determining the mechanics for applying exclusionary criteria for:
(1} Real Estate Developers under Section 2.2.4.7 of the Settlement Agreement; and (2) Moratoria
Losses under Section 3.3 of the Settlement Agreement. While the Settlement Agreement is clear
that these types of claims are precluded from participating in the Settlement Program, it does not
provide any details how to identify such excluded entities or how to apply any criteria
consistently. Because the Settlement Agreement does not provide the necessary guidance, the
Claims Administrator and the Parties have engaged in numerous meetings and discussions to
create policies that are fair, administrable and adhere to the spirit and intent of the Settlement
Agreement.

2. Special Factual Circumstances.

Vendors also suggest policies or raise issues as they encounter unique factual
circumstances uncovered during the claims review processes, as do the Parties when they process
appeals, submit reconsideration requests or receive questions from claimants on how special
circumstances should be handled. As particular fact patterns present themselves, the Claims
Administrator will draft a policy and present it to the Parties for their consideration and input.
The Parties will either agree on the content of the proposed policy as presented by the Claims
Administrator or will engage in discussions to craft the policy in a manner that is not
objectionable, but remains administrable. A prime example of a policy created by special factual
circumstances is the HIPPA policy (Policy 326) that became necessary when certain claimants
with Business Economic Loss claims were required to submit customer lists and addresses to
satisfy the “customer-mix” test set forth in Exhibit 4B. Because some physician and dentist
offices were reluctant to provide the necessary documentation required to analyze a claim under
the customer-miux test due to HIPPA restrictions, the Claims Administrator drafted and
implemented a policy about documents that may be protected under the federal HIPPA statutes
and regulations.

3. Administrative Provisions.

The Claims Administrator also creates purely administrative policies to document his
performance of required duties as prescribed by the Settlement Agreement. Administrative
policies and procedures include enforcement of deadlines, relief from deadlines, expediting the
review of claims for demonstrated hardships, and the procedure for paying claims by claimants
in bankruptcy proceedings. An example of an administrative policy is Policy 357, which details
when the Claims Administrator will pay a claimant the remaming 40% of the GCCF transitional
payment under Section 4.2.3.1. The Settlement Agreement was clear that a claimant may
receive the greater of the calculated Settlement Agreement arnount or the remaining 40% GCCF
payment, but it did not specify whether the Claims Administrator must wait until all of a
claimant’s claims have been processed to completion or whether he could pay the higher amount
when the first claim becomes payable, Policy 357 directs that the claimant receives the higher
amount up front and that the Eligibility Notice will explain that portion of the 40% amount that
was higher than the calculated claim amount will offset any future offers on subsequently filed
claims, and that the claimant will receive an additional payment only if the amount of a future
claim exceeds the 40% amount.

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C. Aunouncement of Policies to the Parties.

At the outset of the Settlement Program, the Claims Administrator identified sections of
the Settlement Agreement that required clarification and interpretation in order to design the
claims processing systems in accordance with the intent of the Parties. The first policies of the
Settlement Program derived from questions or clarifications posed by the Claims Administrator’ s
vendors to BP and Class Counsel in Apri! and May of 2012. The Claims Administrator
exchanged these early questions by emailing an Excel spreadsheet to the Parties and collecting
their comments and acknowledgements in one comprehensive document. On July 30, 2012,
shortly after the launch of the Settlement Program, the Claims Administrator terminated the
exchange of questions and issues by Excel spreadsheet and instead implemented a formal memo
process to flesh out more involved or nuanced questions about the Settlement Agreement. The
Claims Administrator would circulate these memos by email to solicit put and comments by
the Parties.

1. Creation of the Policy Keeper Application.

The constant exchange of Excel spreadsheets and memos by email became too
cumbersome to monitor, so the Claims Administrator developed a Policy Keeper application to
track the policies currently used in the Settlement Program and make them available to the
Parties and the public. The Claims Administrator Jaunched Policy Keeper on 3/28/13 and it
serves as an electronic file cabinet for all approved and pending policies. It stores the content of
the policy, the date the policy became effective, any supporting memoranda about the need or
purpose of the policy, the comments by all the Parties, whether the policy is internal or external,
and who authorized the policy. Policy Keeper also contains an automatic email notification
system to alert all interested parties when policies are announced or a party approves, objects or
proposes changes to a draft policy. The Policy Keeper flowchart attached as Exhibit A identifies
the various stages of review and input for proposed policies before they become final.

2. Policy Development and Implementation through Policy Keeper.

The Claims Administrator, all Vendors and the Parties have been provided access to
Policy Keeper to ensure policies are drafted and implemented in an effective and efficient
manner, Policy Keeper provides users with access to all policies created during the course of
the Settlement Program, the functionality to propose new policies and the ability to provide
positions and comments on policies within the development process. Policy Keeper records the
Parties’ positions, comments, and any supporting documentation as the policy’s “legislative
history” that is accessible for any authorized user (but not the public) to review. The Policy
Keeper User Manual attached as Exhibit B outlines the functionality of the application.

(a) Policy/Precedure Search.

Policy Keeper functions as an electronic file cabinet of all the Settlement Program
policies created to date and-all proposed policies not yet final. To effectively search for policies,
Policy Keeper allows users to select certain criteria to locate a policy or procedure by including:
(1) the Policy or Request 1D; (2) Claim Types and/or Review Processes affected by the Policy;
(3) the Settlement Agreement reference; (4) the Type of Decision; and/or (5) a word search to
identify certain words in the Policy Name or Policy Summary, Users may select more than one
type of search criteria to refine the search. Policy Keeper allows users the ability to export the
search results to an Excel spreadsheet. Further, the user may choose to view a PDF of the policy

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and any available supporting documents or memoranda. Ifa policy is open for approval or
comment, the user can review the policy and take the appropriate action.

(b) Proposing a New Policy/Procedure.

Policy Keeper allows the Vendors the ability to propose new policies to send to the
Claims Administrator for consideration, To propose a policy the user must: (1) enter the
policy’s proposed name; (2) identify the claim types/review processes affected by the proposed
policy; (3) draft a summary of the proposed policy; and (4) upload any supporting
dcecumentation. Upon completion, the user can send the draft policy to other Policy Keeper users
to review or to the Policy Keeper Coordinator (“PK Coordinator”) for review. The PK
Coordinator’s role is to review the proposed policy to determine if there is a relationship to any
prior existing policies or if the policy is one of first impression. After the user sends the policy
to the PK Coordinator or other Vendors for review, the policy is stored in that user’s account
under his/her “My Proposed Policies” menu. If there are no prior policies on point and the
proposed policy is ripe for the Claims Administrator’s review, the PK Coordinator sends the
proposed policy to the Claims Administrator to review.

{c) Claims Administrator Review.

After the PK Coordinator sends the proposed policy to the Claims Administrator, the
Claims Administrator can take the following actions: (1} send the policy to the Parties for input;
(2} announce the policy to the Parties for their positions; (3) declare the policy as administrative
in nature and finalize the policy as internal; (4) request a discussion with Vendors prior to
requesting input or announcing the policy to the Parties; or (5) reject the proposed policy as
duplicative or unnecessary. If the Claims Administrator selects Option (1) or (2}, an email
notification is sent to the Parties informing them of the policy and that further action is required.
If the Claims Administrator selects Option (3), the policy is marked as an interna] policy that is
available to the Claims Administrator and Vendors only.

The Claims Administrator formulates internal policies in one of two ways: (1) during the
Claims Administrator Review stage he determines the policy is administrative in nature and does
not seek approval or input from the Parties, which becomes a final policy; or (2) after requesting
input from the Parties, he receives feedback that the policy should be internal only. Once the
Claims Administrator determines that a policy should be internal, he will select the “Internal
Only” option when finalizing the policy in Policy Keeper. Regardless of how an internal policy
is created, an email notification is sent to the Vendors, but not the Parties, informing them of the
final internal policy that can be reviewed in Policy Keeper. Internal policies are not accessible
by the Parties or the public.

(d) Requesting Ieput from Parties or Vendors.

ff the Claims Administrator decides that he needs feedback from the Parties and/or
Vendors prior to announcing a policy, the Claims Administrator selects the “Send to Parties for
Input” option. The Policy Keeper application sends an email notification to the Parties and
Vendors that directs the recipient to provide input with seven days. After reviewing the policies,
the Parties can choose to: (1) agree with the proposed policy and provide supporting comments;
(2) oppose the proposed policy and provide the reason for opposition; (3) propose a
modification to suggest changes to the proposed policy including clarifying or formalizing the
policy’s language and changing the substance of the proposed policy; or (4) defer to the Claims
Administrator’s decision. When the user selects his/her option and provides any comments

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and/or uploads supporting documents, the policy is sent back to the Claims Administrator for
review.

(e) Policies/Procedures After Requesting Input by the Parties.

The Claims Administrator can review the Parties’ input and supporting documentation in
the “Policies/Procedures After Requesting Input by the Parties” stage. When the Claims
Administrator reviews the Parties’ input, he can elect: (1) adopt the policy and announce it to
the Parties for their final positions; or (2) determine that no policy is necessary based on the
responses by the Parties. If the Claims Administrator selects Option (1), the Claims
Administrator can edit the policy and upload any supporting documents, After the Claims
Administrator finalizes the language, he announces the policy to the Parties through Policy
Keeper who will receive an email notification that they have seven days to provide their final
positions. Ifthe Claims Administrator selects Option (2), the proposed policy will not be
implemented and will appear only in the user’s “My Proposed Policies” section as a rejected
policy.

(f) Policies/Procedures Announced to Parties for Positions.

Once the Claims Administrator announces a policy to the Parties, the policy appears in
the Parties’ “Policies/Procedures Announce to Parties for Positions” section. Additionally,
Policy Keeper issues an email notification to the Parties informing them that further action is
required. The Parties have seven days to: (1) request a Panel Hearing for review if they
disagree with the announced policy; (2) accept the policy as final ifthey agree with the
announced policy; (3) defer to the Claims Administrator’s decision; or (4) propose a
modification to suggest changes to the proposed policy. Policy Keeper then issues the Parties’
responses to the Claims Administrator and sends an email blast to all users for review. The Plt
Coordinator has the option to extend the Parties’ deadline for responses if approved by the
Claims Adrninistrator.

(g} CA Review of Announced Pelicies/Procedures After Positions by ithe Parties.

The Claims Administrator can review the Parties’ positions in the “CA Review of
Announced Policies/Procedures After Positions by the Parties” section. Based on the Parties’
positions, the Claims Administrator can: (1) set a Panel Hearing date if either Party requests a
Panel; (2) accept as a Final Policy if both Parties agree to the announced policy; (3) indicate that
the Parties defer to the Claims Administrator’s Decision; or (4) reissue the policy for the
Parties’ review if one or both sides proposed a modification. Ifthe Claims Administrator
selects Options (2) and (3), the policy becomes final and is sent to the Final Policies/Procedures —
section and made available to the public, Once final, the Policy Keeper application sends an
email blast to all users notifying them of the recently finalized policy. Ifthe Claims
Administrator selects Option 4, the Claims Administrator can edit the policy and reissue it to the
Parties. For any reissued policy, Policy Keeper allows the Parties the ability to: (1) request a
Panel Hearing, (2) accept as a final policy, or (3) defer to the Claims Administrator’s decision.
At this stage, the Policy Keeper application does not allow the Parties to propose any additional
modifications.

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(h) Panel Hearing.

PK allows the Claims Administrator the ability track and update the policies that are set
for a Panel Hearing. Once the Panel makes a decision, the Claims Administrator can review the
policy records and indicate whether the policy: (1) had unanimous Panel agreement; (2) had no
unanimous Panel agreement and no Court action was requested; or (3) no unanimous Panel
agreement that requires Court action. If the Claims Administrator selects Option (3), a Panel
Hearing date and Pane! Comments are required.

(i} Court Decision.

If a policy is sent to the Court for review, Policy Keeper stores the policy as pending until
the Court makes a decision. Once scheduled, the Claims Administrator can enter the date and
time of the Court hearing. After the Court makes a final decision, a Court Ruling Date and Court
decision can be entered to make the proposed policy final in accordance with the Court’s

directive.

Regardless of how a policy is finalized, all approved policies are tracked in the Final
Policies/Procedures section. Policy Keeper users can review the policy, any supporting
documentation and the policy’s legislative history.

3. Decisions Tracked by Policy Keeper.

There are four types of decisions tracked by Policy Keeper. The following table
describes the types of decisions and how those approved policies govern the Settlement Program
and the Appeal Panelists.

Policies adopted by the Claims Final and binding on claimants, the
A, | Court Decision Administrator and approved by the Parties, the Claims Administrator and
Court. Appeal Panelists,
Policies adopted by the Claims as . att
Administrator as to which both Class Binding on cl aimants, the Parties, the
Agreed to by the Claims Administrator and Appeal
B. : Counsel and BP agreed are to be used ‘
Parties . . Panelists unless overturned by the
in the Program without the need for Court
review by the Court. ‘
Policies affecting the Seafood
Compensation Program that were Binding on claimants, the Parties, the
c Clarified by presented to the Seafood Neutral, who | Claims Administrator and Appeal
"1 Seafood Neutral provided a clarification that the Panelists unless overturned by the
Claims Administrator adopted as a Court.
policy.
Policies adopted by the Claims Used by the Claims Administrator
Claims Administrator as to which Class and Program Vendors for all affected
D, | Administrator Counsel and/or BP did not formally claims, unless the Parties formally
, Decision agree, but indicated that the Claims agree to a different policy or it is
Administrator was to use in the overturned by the Court; not binding
Program. on Appea! Panelists.
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4. Backfilting of Policies into Policy Keeper.

The Claims Administrator adopted several hundred policies for the Settlement Program
before the creation and launch of Policy Keeper. To provide a comprehensive list of policies, the
Claims Administrator backfilled all final and pending comments into Policy Keeper. The Claims
Administrator, its Vendors and the Parties can access Policy Keeper through the Settlement
Program database by clicking the Policy Keeper tab. The online Policy Keeper User Manual
provides guidance on how to find policies and comment on them in Policy Keeper, It also
contains a robust search feature to locate and find policies based on their name, subject matter or
section of the Settlement Agreement.

Class members, their counsel and the public also can review all final policies using a
similar search feature that is available through the Settlement Program’s official website. Before
posting all of the policies to the public, the Claims Administrator created a Policy Compendium
of all policies and circulated it to the Parties for their final approval to publicly disseminate.
Through the Policy Compendium process, the Parties exchanged comments about whether
certain policies should be internal processes only, whether older polices had been superseded by
new policies or by the passage of time, and new debate about the language or application of
certain policies. The Claims Administrator did not post any policies without approval of the
Policies. Policy Keeper currently maintains 398 adopted policies and 28 policies that remain in
draft form or await comments by the Parties.

5. Updating and Superseding Policies in Policy Keeper.

The rules and policies needed to implement the Settlement Agreement may change over
time as the Claims Administrator reviews actual claims, which may present new issues or cause
issues to be evaluated in a larger context than was previously considered. When necessary, the
Claims Administrator wil! issue a new policy to amend or replace a previously announced one.
When that happens, the old policy is marked as “Superseded” and the application indicates the
policy that replaced it in a section on the screen called “Superseding Information.” Policy
Keeper retains all of the superseded policies so that interested persons can see what policy was in
place at the time the Claims Administrator reviewed a particular claim, and to understand how a
policy evolved over time. The Claims Administrator does not apply any superseded policies to
current reviews. If a change to a policy would have altered the outcome on a claim in a manner
more favorable to the claimant from that reached under the old policy, the Claims Administrator
will go back and re-review the claim under the new policy in every instance where he can
identify the affected claims.

B. Conclusion.

Creating and implementing policy decisions is an integral task implicit in the Claims
Administrator’s duties, which is accomplished through an inclusive and transparent process. The
Claims Administrator implements policies as necessary to facilitate the orderly processing of
claims as directed by the Settlement Agreement. Policies may originate from the Claims
Administrator, one of his Vendors, the Parties or even the Seafood Neutral in certain
circumstances, With the exception of a few administrative policies, the Claims Administrator
has provided the Parties with an opportunity to comment or provide feedback on all policies that
affect the processing of claims, This occurred through the exchange of Excel spreadsheets and
memos by email before the creation of Policy Keeper, and currently occurs directly through the
Policy Keeper application. Even for administrative policies and procedures adopted by the

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Claims Administrator without input from the Parties, the Parties had an opportunity to comment
and review them through the policy backfill process, as the Claims Administrator circulated all
such policies and procedures for comment before they became available to the public on the
Settlement Program website. Ifthe Parties cannot agree on a certain policy, they may request a
Panel hearing under Section 4,3.4 of the Settlement Agreement before the policy becomes final.
If the Panel hearing cannot unanimously resolve the issue, the Parties may seek a Court review
of the policy.

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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

FULL ACCESS POLICY KEEPER PORTAL

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USER MANUAL

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The Claims Administrator for the Deepwater Horizon Economic and Property Damages
Settlement Program (the “Settlement Program”) has created a secure web-based portal to provide
users with access to Claims Administrator policies and the functionality to propose new policies.
The flowchart bélow shows the process flow for a proposed policy.

Policy Keeper Flowchart ,
Ask for Clarification y P Admisistralive Policy

Claims Administrator
Decision without
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Parties

Policy’ Keeper .. \ Proposed policy sent to Claims Administratar

', Coordinator for review
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Send to Vendors for Input Send to Parties for Input
(CAMVendors) i (CA/Pariies)

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Unanimous Decision by the Trane!

This User Manual tells you how to use the Claims Administrator Policy Keeper Portal.

A. How to Access the CA Policy Keeper Portal.

From your web browser, go to https:/Avww2.deepwaterhorizoneconomicsettlement.com to see
the following Login screen:

DEEPWATER HORIZON
CLAIMS CENTER

ECONGM:C & PROPERTY GAMAGE CLAIMS

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CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE GLAIMS

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tepreaeardbire inthe Deepivnes Hort qdomic:and Property Damege® Sentemint (che “Serlement Progra}. iv dows che Claims Administeacor and the
‘clikiarit to exctiange tyformatiotr arid provides a place io’ track: deadlines ind the atatus of 4 cluiny ia.thb Sextlemont Program. (Only persoby avchotized by the
Ciging Adminigraior tan ‘asa tip DWH Portal. Ifyou are 3 pro se clamane'(oor repreventod by-an attorney), clicks the Request Access button mw obuin 2
Login 1B_and Passwotd. yin de not'ramémber four Login TD aidior Password, click the Fargoten Login 1DParawerd bulton. If ‘you have queshons-or
ated dssistarice with the DWH Portal, comacl the Ciahris Aduiuiswator by-nidall al Quastionsif dhees.com orca 1-800-353-1262. ‘ ;

If you ars an attomey-rtquesing-dceess 26.the DWS Portal and you ae “aqnentbey of ajacy firm that has not ‘bess granted: ace¥ss, coisact the Atiemey
Team at AgomeyQurstionafedhecc.com ov 1-800-353-1262. If a.member ofyour law fxm hasbeen granted accoes to thé DWH Ponual, that person, as Lasy
my Tirm Admiaisleator for yous law firm, cap‘add new users on the Fit Adminstration tab of the Portal.

This is a secured site. It can be accessed only by a person authorized by the Claims
Administrator with both of the following:

1. A Login ID name. Your Login ID is not case sensitive.

2. A Password assigned to that Login ID. This password will be a minimum of six and
maximum of 15 characters and numerals. The Password is case sensitive, so be careful
how you type if.

Enter your Login ID and Password and click the Login button to access the site. Once on the site,
you can remain on as long as you like, provided that your session shows some activity. The
Login screen will appear if you attempt to use the site after a time-out. To resume using the
Portal, simply follow the Login steps again,

B. Nayigating the Site.

After you have successfully logged in, you will see the Home screen welcoming you to the
DWH Portal. The left side of the Home screen lists the sections of the DWH Portal to which you
have access. You can navigate between these sections by left-clicking on the section you wish to
access,

C. Policy Keeper,

Click the Policy Keeper link on the left side of the screen to go to the Policy Keeper screen to
view current Claims Administrator policies and to propose new policies to the Policy Keeper
Coordinator (“PK Coordinator’).

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Welcome to Policy Keeper

Click here foy the Policy Keeper User Manwal.

Policy/Procedure Search

Propose a New Policy/Procedure

My Proposed Policies/Procedures Leet
Draft Policy/Procedure
Policy Keeper Coordinator Review Bc
Claims Administrator Review
Internal Discussion with Claims Admioisivator and Vendors

Requested uput from Parties

Policies/Procedures After Requesting Input from the Parties

Policies/Procedures Announced to Parties for Positions

CA Review of Annowneed Policies/Procedures After Positions by the Parties

Panel Hearing
Court Beelsion
Final Polictes/Procedures

1. Policy/Procedure Search, To search for a policy, click the Policy Search “Search”
button.

Policy /Procedure Search

ene

Settlement Agreement Reference: P ° “|
Type of Decision: | _ ecw
Word Search: | . |

(a) Search Criteria. Select the Search Criteria you want to use to search for a policy. You can
provide more than one type of Search Criteria to refine your search,

(1) Policy/Request: Use the drop-down list to choose to find a policy or request ID.

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(2) ID: Enter the ID to find a specific policy or policy request.

(3) Claim Type/Review Process: Use the drop-down list to find policies by Claim
Type or Review Process.

(4) Settlement Agreement Reference: Enter the Settlement Agreement reference for
which you want to find the applicable policy(ies).

(5) Type of Decision: Use the drop-down list to find policies by how they were made
final.

(6) Word Seareh: Enter a word or words to find policies that contain your search
word(s).

Click the Search button to view the search results.

(b) Search Results. The Search Results provides a table of the results of your search and an
Export to Excel button.

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Approved Policy or | Ciaizns Administrator a

Pol? 6 63 doc test Procedure Desision

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Falsas é test Procedure Decision External

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documents are sen Procedure Parties

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(1) Export to Excel. Click the Export to Excel button to export the Search Results
details to an Excel file.

(2) Search Results Table. ‘The Search Results table provides a list of policies that
match your search criteria, including the ID, Revision Number, Name, Current
Status, Type of Decision and Policy Availability, There are also the following
buttons: ,

a. Create PDF. Click the Create PDF button to view and print a template
version of the selected policy or procedure.

b. View. Click the View bution to view a document if there is an attachment
provided with the policy or procedure,

c. Details. Click the Details button to open the policy record. The Policy Keeper
application will navigate you to the stage where the policy currently resides,
allowing you to take action if necessary.

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2. Propose a New Policy/Procedure. Click the Propose New Policy/Procedure “Start”
button to propose a new policy to the PK Coordinator.

Propose a New Policy/Procedure

User; Tes, BG Organization: Tum

Proposed Policy Name: * _ . i

Policy Affecis: *

12] TEL &] iyav EJ Real Property Sates 2) Subsistence

E] BEL 2 VoO Charter Payment 12} Coastal El Wetlands
Affected Claim Types . >
(Select all that appiy) E} Vessel Physicat Damage E] Seafoud &) Au Claims 5 ail Nou-Eranomic Loss

Fa AU Economic Loss

Clans 5 Seafoor Second Distribution

) Psior Payment (2 Frmd/Audit EX Payments

Affected Review Processes 1
(Selectall that sony) Ed Appeal FE} Signature Reqnised E71 Acct Support a Exclusions

£3 Class Definition EJ Administration Costs fa Orher: [ __ ” |

Type your proposed policy. Ifyou have supporting documentation you would like to submil, you wiay do so by using the Upload button in the Related
Documents section after entering your proposed policy.

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(a) Home. Click the Home button to return to the Policy Keeper menu screen.
(b) Proposed Policy Name, Type your Proposed Policy Name in this field.

(c) Policy Affects. Select all of the Claim Types and/or Review Processes that your new
policy would affect. You may make multiple selections.

(d) Proposed Policy. Type your proposed policy in the comment box. Ifthe proposed
policy will not fit in the provided text box, you can upload a document that contains
your proposed policy and any necessary exhibits or attachments.

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(e) Save. Click the Save button to save your proposed policy information and enable
additional features.

Progie details saved sucresshilly.

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Chick the Add New bution to add 4 comment to the policy discussion.
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06/04/15 4:32:35 PM i Serene

Click the Upload button to submit documentation in support of the proposed policy. You can upload Excel, PDF and JPEG files. This step is not required,
Sate 0 Bie

(f) Discussion/Add New. If you want to add a comment to the discussion on the
proposed policy, click the Add New button in the Discussion section and enter a
comment. To view previous comments, click the Comments button for the Comment
you want to see,

(g) Supporting Documents/Uptoad. If you have supporting documents that you would
like to submit with your policy, click the Upload button in the Related Documents
section. You can upload Excel, PDF and JPEG files. You are nor required to submit
supporting documents.

(h) Submit. Click the Submit button to submit the policy to the PK Coordinator for
further action.

(i} Send To Draft Policy. Click the Send to Draft Policy button to send the proposed
policy to selected users before submitting the policy to the PK Coordinator.

Add User:

Click the Add button to add users to whom you wish to send the proposed policy.
Select the users you want to add and click the Add button.

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ECONOMIC & PROPERTY DAMAGE CLAIMS

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Add User:

Test, Edit | Remove
GCUser!, GCUser jit Renae

Once you have added all the users to whom you want te send the proposed policy,
click the Submit button.

3. Draft Policy/Procedure. Click the Draft Policy/Procedure “Review” button to display a
list of draft policies.

Draft Policy /P

rocedure
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Proposed
Development Stage
Proposed Policy in
Development Siaze

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2, 439 06042013 Test Test, BG Firm

The table lists draft policies, including the Subject, User, Organization and Policy Status.
Click the Review button for the selected Draft Policy to view the policy details and make
any changes to the policy. Click the Save button to save your changes. Click the Submit
button to send the policy back to the User.

4, My Proposed Policies/Procedures. Click the My Proposed Policies “Review” button to
display a list of your proposed policies.

My Proposed Policies/ Procedures

Ar ‘ Prop
0409/2013 testTitele Test, BG Development Stage
: Monor : Proposed Policy Pending
2. 394 Oo 192013 asdf Test, BG Fim Review
=A Proposed Policy Pending
3. aga OLBBAF Teast ‘Test, BG Firm Review
Question or Potential Policy
4. 433 OGO3/2013 | view document test Tesi, BG Fina or Procedure Pending PR
Coordinator Review
5. 438 0604/2013 | test for manual Test, BG Finn Proposed Policy Pendug | Qa
; - Proposed Policy in
& 439 0dOH2013 Test 1 Tesh, BG Fino Development Stage
7, $40 06042013 | Policy Check Test, BG Fim Deeclopmrt Stans Ae
Previsusly Proposed Policies:

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ECONOMIC & PROPENIY DAMAGE CLAIMS

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The table lists your pending proposed policies, including the Policy Request ID, Request
Date, Subject, User, Organization and Policy Status. The following buttons also appear:

(a) View. Click the View button to view the policy record for the selected policy.

(b) Review, Click the Review bution to access the policy record for policies that you
have not yet submitted or where the PK Coordinator is requesting clarification.

(c) Show All. Click the Show All button to see previously proposed policies and use the
View button to see the policy record.

5. Policy Keeper Coordinator Review. Click the Policy Keeper Coordinator Review
“Review” button to display a list of Policies under Policy Keeper Coordinator Review
and view the policy records. Click the Review button for the desired policy to display the
Policy Details and act on the policy.

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£) Neo Prior Policy

& Asnvending Policy Number |

@) Aak for Clarification
i Proposed Policy Not Placed in the Policy Development Provexs
Proposed Palicy Seal te Clairas Administrator for Redew

Connents: “

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(a) Relationship to Prior Policies. If applicable, select the proposed policy’s
relationship to prior existing policies. Use the Search button to search for the prior
policy that relates to the proposed policy. Use the Superseded Policy/Procedure
button if the proposed policy supersedes a prior existing policy.

(b) Discussion. Click the Add New button to add a comment to the policy discussion.
‘The policy discussion table lists the comments submitted for the proposed policy.
Click the Comments button to view the comments submitted,

(c) Supporting Documents. Click the Upload button to upload a document in support of
the proposed policy.

(a) Policy Keeper Coordinater Action. Select from the radio button options for the
action you want to take on the proposed policy and enter a comment in the Commenis
field.

Click the Submit button to submit your action.

6. Claims Administrator Review. Click the Claims Administrator Review “Review”
button to display a list of Policies under Claims Administrator review and view the policy
records. Click the Review button for the desired policy to display the Policy Details and
act on the policy.

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Comments:

Text “

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Type of Discussions * sand to the Parties for Topat

2 Claims Administrator Decision Without Involvement From the Parties

© Administsalive Policy

&3 Reject Proposed Policy

& Request Discussion

Claims Administrater Comments:

Max. 2,000 Charactins.

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Discussian Mlace Bare

(a) Discussion. Click the Add New button to add a comment to the policy discussion.
The policy discussion table lists the comments submitted for the proposed policy.
Click the Comments button to view the comments submitted.

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(b) Policy Keeper Coordinator Action. View the PK Coordinator’s action taken on the
proposed policy and any comments provided in the Comments field.

(c) Claims Administrator Action. Select from the radio button options for the action
you want to take on the proposed policy and enter a comment in the Comments field.

(1) Send to the Parties for Input. Choose this option if you would like to receive
feedback from the Vendors and/or Parties. If you select “Send to the Parties for
Input,” you must also complete the Open for Discussion by selecting the parties to
participate in the discussion and entering the Discussion Close Date, Upon
selecting this option, the policy will be sent to the Vendors and/or Parties for
review and they will be notified by email.

(2) Claims Administrator Decision Without Involvement From the Parties.
Choose this option if you would like to adopt the policy without involvement
from the parties. Upon selecting this option, the policy will be moved to
Policies/Procedures After Requesting Input from the Parties.

(3) Administrative Policy, Choose this option if you would like to adopt the policy
as a Final Policy. If you choose this option, the policy will not be reviewed or
commented on by the Parties and will be sent to Final Policies as an Internal
Policy.

(4) Reject Proposed Policy. Choose this option if you would like reject the policy.
By selecting this option, the policy will be rejected and sent to the proposer’s My
Proposed Policies menu.

(5) Request Discussion. Choose this option if you would like to request a discussion
with the Vendors and/or Parties. When you select this option, click the
Discussion button to display the Request Discussion pop-up window and select
the date, time and place to meet with the requested parties.

Proposed Meeting Date: Beals

Proposed Meeting Time: [6 >ff[30_ ox BIPM
Proposed Aleeting Location: iNew Orleans .

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WEG BP M Class Counsel

Select the parties to be involved in the discussion and click the Submit button to
submit the request to the parties. This will trigger an email notification to the selected

parties.
(d) Upload Documents. Click the Upload button to upload a document in support of the
proposed policy.
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Click the Submit button to submit your action.

7. Internal Discussion with Claims Administrator and Vendors. Click the Internal
Discussion with the Claims Administrator and Vendors “Review” button to display a list
of Policies subject to internal discussion with the CA and Vendors. Click the Review

button for the desired policy to display the Policy Details and to provide a response if
needed.

Response

f] Reqpest Discussion

Conuments:

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(a) Request Discussion, Select the Request Discussion option and click the Discussion
button to request discussion of the policy,

Proposed Meeting Date:

Proposed Migeting Thne:

Proposed Meeting Location: [New Orleans

Parties: fipan @IPwC MCG Mac
pp = Class Counset PICA

Complete the Proposed Meeting fields and select the parties to be involved in the
discussion and click the Submit button to submit the request to the parties. This will
trigger an email notification to the selected parties.

(b) Upload Decuments. Click the Upload button to upload a document to support your
response.

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ECONOMIC & PROPERTY DAMAGE CLAIMS

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Click the Submit button to submit your response.

8. Requested Input from Parties. Click the Request Input from Parties “Review” button
to display a list of policies with input requested from the Parties. Click the Review

button for the desired policy to display the Policy Details and to provide a response if
needed.

Response

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f Oppose

T Propose Modification

* Defer to Claims Administrator Decision

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Max 2, G00 characters.

See
Upload a meno/document to support your response.

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(a) Select Response, Select the appropriate response from the radio buttons. You can
enter a comment in the Comments field and upload supporting documentation. The
Claims Administrator will review your selection and comments to formulate an
announced policy for your review.

(1) Agree. Select this option if you agree with the proposed policy as drafted.

(2) Oppose. Select this option if you disagree with the proposed policy as drafted
and provide your reason for opposition.

(3) Propose Modification, Select this option if you would like to make a
modification to the proposed policy. Such changes include clarifying or

formalizing the policy’s language and changing the substance or essence of the
proposed policy.

(4) Defer to Claims Administrator Decision, Select this option if you defer to the
Claims Administrator Decision,

(b} Upload Document(s). Click the Upload button to upload a memo document to
support your response.

Click the Submit button to submit your response,

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ECONOMIC & PROPERTY DAMAGE CLAIMS

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9, Policies/Procedures After Requesting Input by the Parties. Click the
Policies/Procedures After Requesting Input by the Parties “Review” button to display a
list of Policies that are pending announcement, Click the desired policy to view the
policy records, discussions and make a decision on the policy.

Test, BG

No Results Pound.

Request Input Date:
Deadline fo Respond;

Adopt Policy and Announce w Parties
No Policy Needed

To change the Deadline to Respond, enter the date and click Update to apply to change.

To make a Claims Administrator Decision on the policy, select “Adopt Policy and
Announce to Parties” or “No Policy Needed” and click the Submit button.

(a} Adopt Policy and Announce to Parties, Ifyou select this option, you will navigate
to the Announced Policy screen,

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Announced Policy

Policy ID: 0 | Hf Revision: ©) ere [O] © internal Cally

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Aunounced Dare: * 65/2013

Type of Decision: Sent to Parties for Input

Procedure Policy; = [F]

Policy Impact: * @ ati Chims REGARDLESS of Announced Date
@ All Claims GREATER than Announced Date

Policy Subjecer * [Test Visibilay |

Setllement Agreement |
Reference:

Decument Nite:

| Decoment; ©“ **
|
Atiected Claim Types: ~
FUIEL & Pwiy 4 Real Property Sates EX Subsistence
El BEL E] ‘YoO Charter Payment Coastal Wetlands
E5] Vesset Physical Damage Fy Seatbed . EE AB Claims [2 All Non-Economie Logs Claims
2] A Economic Logs Claims FA Seafood Second Distribution
Affected Review Processes:
E4 Prior Payment ¥9 Fraud/Audit El Payments EY Deadlines
E] Appeal E] Signature Required 2S Acct. Seppo i] Exchuisions
EF Class Definition E] Administration Costs € other,

You must complete the required information on this screen to announce the policy.
The Announced Date will automatically populate with the current date. You must
then select the Policy Impact, enter a Policy Subject and Settlement Agreement
Reference. If there is a document associated with the policy, you can upload the
document by using the Announced Policy Document tool, You must select the
Affected Claim Types and/or Review Processes. The proposed policy will populate
in the Final Policy Summary field and will become editable for your review. Once
you provide the policy’s information, click the Submit button and the policy will be
sent to Policies Announced to Parties for review.

(b) No Policy Needed. Select this option if, after reviewing the responses and comments
from the parties, you determine the proposed policy is not needed. If you select this
option, the policy will not be implemented and will appear in the proposer’s My
Proposed Policy menu as a rejected policy,

10. Policies/Precedures Announced to Parties for Positions. Click the Policies/Procedures
Announced to Parties for Positions “Review” button to display a list of Policies
announced to the parties. Click the Review button for the desired policy to view the
policy records and provide a response if needed.

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ECONOMIC A PROPERTY BAMAGE CLAIMS

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Response

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*) Request Panel Hearicg
=} Accept as a Final Policy

“3 Defer to Claims Adminiswater Decision
4 Propose Modification

Comments:

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Berend Ree

(a) Select Response. Select a response from the radio buttons and enter a comment in
the Comments field. Click the History button to view the policy history.

(1) Request a Panel Hearing. Select this option if you disagree with the announced
policy and want to set a Panel Hearing to review the policy. You can enter a
comment in the Comments field and upload supporting documentation.

(2) Accept as a Final Policy. Select this option if you agree with the announced
policy. If both parties agree with the announced policy, the policy will be deemed
as a fina! policy Approved by the parties.

(3) Defer to Claims Administrator Decision. Select this option if you defer to the
Claims Administrator Decision. If the partics defer to the Claims Administrator
Decision, the policy will be accepted as final and sent to the Final Policies menu.

(4) Propose Modification. Select this option if you would like to make a minor
clarification to the Announced Policy. You should select this option if you wish
to clarify or formalize the policy’s language, but not change the substance or
essence of the Announced Policy.

(b) Upload Documents. Click the Upload button to upload a memo document to support
your response.

Click the Submit button to submit your response.

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ECONOMIC & PROPERTY. DAMAGE CLATHS

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11. CA Review of Announced Policies/Procedures After Positions by the Parties, Click
the CA Review of Announced Policies/Procedures After Positions by the Parties
“Review” button to display a list of the Responses to the Announced Policies. Click the
Review button for the desired policy to view the policy records and make a decision on
the policy.

: cate
Deadline to File for a Panel Hearing: lslcaois gi

3 Set a Panel Hearing
€ Accept as a Final Policy
& Parties Defer to Claes Administrator's Decision

coe

(a) Claims Administrator Decision, To change the deadline to file for a Panel Hearing,
enter the new date and click the Update button, Use the radio buttons to select
whether to set a Panel Hearing or to accept the policy as a Final Policy. If you set a
Panel Hearing, you must provide a Panel Hearing Date and the Parties’ Comments in
the required fields. Click the History button to view the policy history. If you request
Accept as a Final Policy, you will navigate to the Final Policy Screen. Upon entering
the Final Policy’s information, the policy will move to the Final Policies menu.

(b) Upload Documents, Click the Upload button to submit documentation in support of
the proposed policy.

Click the Submit button to submit your response,

12, Panel Hearing. Click the Panel Hearing “Review” button to display a list of Policies
pending a Panel Hearing. Click the Review button for the desired policy to view the
policy records and provide the Panel Hearing decision on the policy.

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CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

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3 Unanimous Agreement
€3 No Unanimous Agreetnent: Court Action Not Required
No Unanimous Agreement: Court Action Required

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(a) Panel Hearing Decision, Select the Panel Hearing Decision from the radio bution
list. If you select “No Unanimous Agreement; Court Action Required,” you must
provide the Panel Date and Panel Comments in the required fields. Click the History
button to view the policy history.

(b) Upioad Document(s). Click the Upload button to submit documentation in support
of the proposed policy.

Click the Submit button to submit your response.
13. Court Decision. Click the Court Decision “Review” button to display a list of Policies

pending a Court Decision. Click the Review button for the desired policy to view the
policy records and provide the Court decision on the policy.

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Court Date: * f

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Court Decision: *

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When the Court date has been scheduled, you can enter the date and time into the
corresponding fields. Click the Submit bution to keep the policy in the queue until the
Court has made a final decision. When you provide the Court Ruling Date and the Court
Decision and click Submit, you will navigate to the Final Policy page allowing you to
submit the Court Decision information.

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14, Final Policies/Procedures. Click the Final Policies “Review” button to display a list of
final policies or procedures. Click the Filter button to display a list of policies or
procedures finalized in the past 14 days.

Final Policies / Procedures

Click the Review button for the desired policy to view the policy records on the policy.
The screen displays the Policy Details, Announced Policy Summary, Supportmg
Document, and a History button.

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‘Approved Policy or Proceduse
User, BP BP Defer te Claims Administrator Decision | 06/06/2013

Acctuserl, Acctuserl Accept as a Final Policy 06/06/2013

(a) Supporting Document. The Supporting Document section lists the document(s) that
the CA uploaded for the Final Policy. Click the View button to view the
document(s).

(b) History. Click the History button to view a table of how the Parties voted on the
policy or procedure at different stages in Policy Keeper, Click the Comment button
to view the comments on a specific policy response. Click the View button to view
any documents uploaded in support of the response.

DEEPWATER HORIZON
CLAIMS CENTER

ECONGHIC & PROPERTY DAMAGE CLAIMS

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The Claims Administrator has implemented several hundred policies during the course of
the Seitlement Program. To help monitor and store these policies, the Claims Administrator
created an application called Policy Keeper. In addition to being an electronic file cabinet of all
Settlement Program policies, Policy Keeper allows the Claims Administrator, his Vendors, and
BP and Class Counsel (the “Parties”) to draft, review and implement policies. Before the
creation of Policy Keeper, the Claims Administrator used several different methods for creating
and tracking policies. This timeline describes the processes used by the Claims Administrator to
adopt and promulgate policies needed to implement the Settlement Agreement as drafted by the
Parties.

1. April — July, 2012: Starting before Settlement Program began and continuing until August,
2012, the Claims Administrator circulated an Excel spreadsheet of questions to the Parties for
answers and comments that the Settlement Agreement did not specifically address. The
Excel spreadsheets were emailed to Mark Holstein (BP), Keith Moskowitz (Dentons / BP),
Wendy Bloom (Kirkland & Ellis / BP), Steve Herman (Herman, Herman, Katz & Cotlar /
Class Counsel), Joe Rice (Motley Rice / Class Counsel) and Jim Roy (Domengeaux, Wright,
Roy & Edwards / Class Counsel). The Parties’ responses to these questions were used to
formulate the first policies in the Settlement Program, which resulted in the creation of 169
policies,

2. 7/18/12: The Claims Administrator met with the Vendors to discuss policy issues without
the presence of the Parties. As a result of this meeting, the Claims Administrator
implemented several administrative policies involving deadlines, relief from deadlines,
rescission of offers and releases, 40% payment rules, etc.

3. 7/30/12: In late July, the Claims Administrator transitioned from using Excel spreadsheets to
using memoranda for the exchange of policy questions and comments. If the Settlement
Agreement was vague or incomplete on a specific issue, unique factual circumstances came
to light during the review, or there was a need for an administrative process, the Claims
Administrator proposed or implemented a policy by circulating a memo to the Parties. The
Claims Administrator’s process of policy creation using the memo format resulted in the
creation of 155 policies.

4, 1/18/13: The Claims Administrator’s office emailed an Excel Compendium to Mark
Holstein, Keith Moskowitz, Steve Herman and Jim Roy for review and notified the Parties
that 344 policies had been created since the start of the Program. These policies were always
available to the Claims Administrator, Vendors and Parties; however, the Claims
Administrator never disseminated the policies to the Appeals Panelists or the public. To that
end, the Claims Administrator notified the Parties that he wanted to promulgate all policies
publicly unless one of the Parties objected.

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1/30/13: Steve Herman emailed Class Counsel’s comments to the Excel Compendium.
Class Counsel provided their designation of the Type of Decision for each policy, which
included (1) Classify as CA Decision; (2) Agreed to by the Parties; (3) Clarified by the
Seafood Neutral; or (4) Court Decision.

2/11/13: Keith Moskowitz emailed BP’s comments to 204 of the 344 policies in the Excel
Compendium. Of the 204 policies for which BP responded, BP wrote “Agree” to 164. As
BP made it a point tc leave a comment for the policies that they did not agree with or agreed
with Class Counse! comments, the Claims Administrator took “Agree” to mean that BP was
accepting the policy.

2/27/13: BrownGreer and the Claims Administrator’s Office met to demo the Policy Keeper
application and receive feedback on additional features to make it user-friendly.

3/1/13: BP emailed Christine Reitano 23 policies in the Excel Compendium that they
believed “contain material inaccuracies and/or require harmonization with other policies.”
BP objected to the promulgation of these policies.

3/4/13: BrownGreer emailed an updated Excel Compendium of all policies that included BP
and Class Counsel comments to Mike Juneau, Christine Reitano, Tiger Sutton, Mark Staley
(Postiethwaite and Netterville), Chuck Hacker (Pricewaterhouse Coopers), Steve Cirami
(Garden City Group), Jen Keough (Garden City Group) and Christi Cannon (Garden City
Group).

3/7/13: The Claims Administrator had a conference call with BrownGreer, PwC and P&N
regarding the Excel Compendium spreadsheet circulated on 3/4/13.

3/14/13: The Claims Administrator emailed Mark Holstein, Keith Moskowitz, Steve
Herman and Jim Roy a list of 68 policies he wanted to make available to claimants, law
firms, the public and the Appeals Panelists through the public website to provide
transparency in the claims review processes. This email included the proposed language that
the Settlement Program would post on the public website announcing how to access the
Policy Keeper search application and the purpose for posting Settlement Program policies.

3/14/13; Steve Herman responded to the spreadsheet of 68 public policies and requested that
the Claims Administrator put the Type of Decision in the spreadsheet for review before
posting the policies.

3/16/13: Wendy Bloom responded to the spreadsheet of 68 public policies stating “there are
several policies listed on the spreadsheet for which it is inaccurate to describe them as
policies ‘Agreed Upon’ by BP, and they are policies for which BP has not agreed to public
posting, These are items reported in Column A as 12, 134 and 135.”

3/16/13: Steve Herman responded to BP’s email with the following comment:

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We had a discussion with Orran and Christine about this yesterday. They are going to go
back and make distinctions between a Claims Administrator Interpretation and/or Policy
versus a Clarification or Interpretation to which both parties have formally and expressly
agreed. (Will also be a Clarification by the Seafood Neutral and a Court-Approved Policy or
Interpretation.) I think that Class Counsel and BP agree that the great majority of the
interpretations/policies on the Compendium are Claims Administrator
Interpretations/Policies (and were not formaily, expressly and irrevocably agreed to by both
Class Counsel and BP), But all Interpretations and/or Policies, once properly characterized,
should be made immediately available to both the Appeals Panelists and the Class.

15, 3/18/13: Steve Herman provided Class Counsel’s stance on how a policy’s Type of Decision
is binding on the Appeals Panelists / claimants.

16. 3/20/13: The Claims Administrator sent the updated list of 68 public policies, including a
table explaining the Types of Decisions attributed to each policy and its precedential effect
on the Appeals Panelists and claimants to Mark Holstein, Wendy Bloom, Keith Moskowitz,
Steve Herman and Jim Roy.

17. 3/26/13: Class Counsel responded to the updated public policy chart by identifying seven
policies that the Claims Administrator originally marked as “Agreed to by the Parties” based
on the Parties’ original Excel Compendium comments and directed that they should be
classified as “Claims Administrator’s Decision.” In response to Class Counsel’s comments,
BrownGreer notified both Parties that we took any policy that BP provided the comment
“A gree” in the original Excel Compendium to mean BP was accepting the policy. Based on
Class Counsel’s request to change the Type of Decision, the Claims Administrator changed
these seven policies to Claims Administrator Decision.

18. 3/22/13: BrownGreer conducted a Policy Keeper Training WebEx with the Parties. After
the training, BP sent an email to Christine Reitano requesting a brief extension to respond to
the public policies circulated on 3/20/13.

19, 3/27/13: Orran Brown emailed a list of 64 policies to Mark Holstein, Wendy Bloom, Keith
Moskowitz, Steve Herman and Jim Roy notifying them that the Claims Administrator was
posting them publicly and provided the Parties with a 3/28/13 deadline to object to the
posting of these policies. Because BP objected to their posting, the Claims Administrator
removed Policies 135 (Court ruling on Variable Profit); 126 (Creation of Monthly Profit and
Loss Statements) and 180 (Determination of Entity NAICS Code) from the original list of 68
public policies. Additionally, the Claims Administrator made language changes that Mark
Holstein of BP requested for Policies 37 and 230, and re-categorized the policies that he
requested be changed to Claims Administrator Decision. Class Counsel requested that the
Claims Administrator publicly post the Variable Profit Policy, but he agreed with BP’s
request to keep it out.

20. 3/28/13: Policy Keeper went live on the public website and the Claims Administrator made
it available to the Claims Administrator, Vendors, Appeals Panelists and the Parties. The

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publicly available search feature initially included 64 policies circulated to the Parties on
3/27/13. The public has access to the Policy Keeper search feature by clicking on a
hyperlink on the Settlement Program’s home page. DWH Portal users and the Appeals
Panelists access the Policy Keeper search feature by clicking on a button located on their
home page, which takes them to the same search feature available to the public.

In addition io launching Policy Keeper, BrownGreer backfilled 344 policies into the
application along with the “legislative history” for each policy. BrownGreer notified the
Parties that the Claims Administrator would make all other policies publicly available, and
requested that the Parties inform the Claims Administrator by 5:00 P.M. on 4/5/13 ifthey had
any objection.

4/2/13: To expedite the review process, Steve Herman requested an Excel spreadsheet of the
non-public policies instead of using Policy Keeper.

4/4/13: Dan Cantor requested a one-week extension to respond to the remaining non-public
policies. Class Counsel objected to the extension, but the Claims Administrator granted BP
until 4/12/13 to respond to the non-public policies.

4/8/13: Wendy Bloom requested information as to why the Claims Administrator
categorized certain claims as Clarified by the Seafood Neutral.

4/10/13: Matt Hazzard at BrownGreer responded to Wendy Bloom with the information he
was able to obtain regarding policies labeled as Clarified by the Seafood Neutral.

4/11/13: Matt Hazzard responded to Wendy Bloom with a breakdown of the policies for
which the Claims Administrator correctly labeled Clarified by the Seafood Neutral and those
that were not.

4/12/13 10:00 P.M; Wendy Bloom provided BP’s comments on the first 112 policies of the
non-public policies spreadsheet. BP also provided a breakdown of how it responded to these
policies.

4/13/13 3:25 A.M.: Wendy Bloom provided its second spreadsheet.

4/13/13 6:44 A.M.: Wendy Bloom provided its third spreadsheet.

4/15/13 1:00 A.M.: Wendy Bloom provided its final spreadsheet.

4/23/13: Keith Moskowitz requested that the Claims Administrator add a fourth option to the
“Policies/Procedures Announced to Parties for Positions” stage in Policy Keeper called
“Propose Modification.” The Claims Administrator granted BP’s request and created a

fourth option that allows the Parties to propose a modification to an Announced Policy.
Regardless of whether the Claims Administrator accepts a Parties’ proposed modification,

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the Claims Administrator wil] reissue the policy to the Parties once more for their final
positions.

4/26/13: For the 22 policies that BP had not previously been afforded an opportunity to
comment on and the three policies that BP requested a Pane! Hearing or clarification from
the Seafood Neutral, the Claims Administrator placed the policies back in the Request Input
stage of Policy Keeper to seek the Parties input. The Claims Administrator also sent an
Excel spreadsheet of these policies to the Parties and requested that they respond using
Policy Keeper.

5/1/13: The Claims Administrator sent an email to Mark Holstein, Wendy Bloom, Keith
Moskowitz, Steve Herman and Jim Roy notifying them that he will post 254 policies publicly
if they do not object by 5/3/13 at 5:00 P.M.

5/3/13: Wendy Bloom responded to the spreadsheet of 254 policies with questions regarding
the policies marked as superseded and the policies for which the Claims Administrator did
not incorporate BP’s requested change.

5/5/13: Class Counsel did not respond by the stated deadline.

5/7/13: The Claims Administrator posted on the public DWH website the 240 policies that
BP did not object to making publicly available and issued an Alert to all portal users
announcing the newly posted policies.

§/8/13: Matt Hazzard responded to BP with the following email regarding the superseded
policies and the policies for which the Claims Administrator did not incorporate BP’s
comment:

We have reviewed your comments regarding the policies we would like to make public. The
specific policies you mention below were nor included with the 242 policies we made

‘available to the public yesterday. These are our comments for the remaining nine policies

that we did not publicize:

Superseded Policies: The purpose of publicizing the superseded policies is to show the
history of the final policies. Further, publicizing the superseded policies helps claimants and
Appeal Panelists understand what policy was in place when a particular claim was reviewed.
Several policies have a long history and have changed significantly over time, thereby
changing the review process for certain Claim Types. For this reason, we have included the
superseded policies as public policies. To prevent the superseded policies from confusing the
public, we have included a superseded banner with a date the policy was superseded.
Additionally, each superseded policy wili be a version number of the current policy rather
than its own separate policy.

We will publicize Policy 138 because it is superseded by Policy 277, which is a final policy.
Although Policy 138 was not the Seafood Neutral’s response verbatim, the Policy includes

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the substantive material provided by the Seafood Neutral, Furthermore, Policy 138 has been
superseded by Policy 277 so it is no longer applicable for claims review. We will not
publicize Policy 310 because it is in play with Policy 366 (Policy Request ID 425), which we
sent to the Parties using Policy Keeper on 4/26 with your responses due on 5/3.

Policy Language Changes: We have circulated these policies to the Parties several times
and reviewed the Parties’ comments carefully. We incorporated any minor edits or revisions
that the Parties may have had, as long as the changes did not affect the substantive policy
language. When reviewing BP’s compendium comments for Policies 47 and 196, we felt
that the changes would alter the policies substantively. Your recommended changes would
modify the policies in such a way that would require us to reissue the policy. ‘Therefore, we
will make these Policies public as is, and will not include the requested changes.

Policy Clarifications: For Policies 66 and 67, you requested clarification regarding double
payment issues for BEL policies. Our current double payment policies already address these
concerns, so we do not need 10 add clarifying language to Policies 66 and 67.

As for Policy 355, we have your 3/15/13 memo and will not publicize this policy yet. Mike
Juneau has emailed you concerning a meeting about your questions.

No Panel Agreement, Court Action Not Required: We used this Type of Decision for
policies that went to a Panel Hearing but did not require a decision from the Court. As these
policies went beyond the normal policy development phase, we wanted to provide a Type of
Decision that would reflect how the policy became final. To avoid confusion, however, we
have renamed these policies as Claims Administrator Decision. We have updated Policies
349 through 352 to Claims Administrator Decision.

To summarize, we will publicize Policies 47, 66, 67, 138, 196 and 277 unless you request
Panel consideration by Friday at 5:00 P.M. CST. We will, however, keep Policies 310, 355
and 366 internal for further review. Let me know if you have any questions.

37, 5/13/13: Matt Hazzard notified the Claims Administrator’s office that BP did not object to
the nine policies the Claims Administrator said he would post publicly from the 3/8/13 email,
and recommended that the Claims Administrator post them publicly.

38. 5/14/13: The Claims Administrator posted the nine policies on the public DWH website.

39, 5/14/13 to Present: The Claims Administrator has conducted all policy development
through the Policy Keeper application.

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